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UNITED STATES DISTRICT COURT
WESTERN DISTRICT OF TENNESSEE
WESTERN DIVISION

 

EDWARD MONROE, FABIAN MOORE, : CIVIL ACTION
and TIMOTHY WILLIAMS, on behalf
of themselves and all other similarly
situated employees,
Plaintiffs, :
v. : No. 08-2100

FTS USA, LLC, and UNITEK USA, LLC,
Defendants.

 

QR_LB
AND NOW, this day of November, 2008, upon consideration of Plaintiffs’
Motion for Conditional Class Certification and Court-Authorized Notice, it is hereby

ORDERED, ADJUDGED and DECREED that Plaintiffs’ Motion is DENIED.

BY THE COURT:

 

Bernice B. Donald, J.

 

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DEFENDANTS’ RESPONSE TO PLAINTIFFS’ MOTION FOR CONDITIONAL
CLASS CERTIFICATION AND COURT-AUTHORIZED NOTICE

Defendants FTS USA, LLC (“FTS”) and Unitek USA, LLC (“Unitek”) (jointly,
“Defendants”), by and through their undersigned counsel, hereby submit their Brief in opposition
to Plaintiffs’ Motion for Conditional Class Certiflcation and Court-Authorized Notice.
I. Introduction

In their one-count Collective Action Complaint, Plaintiffs allege, inter alia, that, in
violation of the Fair Labor Standards Act (“FLSA”), 29 U.S.C. §201, et seq., Defendants have
not compensated Plaintiffs, Edward Monroe (“Monroe”), Fabian Moore (“Moore”) and Timothy
Williams (“Williams”) (collectively, “Named Plaintiffs”), and other similarly-situated employees
for work in excess of forty (40) hours per week. Plaintiffs’ Collective Action Complaint at 11 10.
Additionally, Plaintiffs allege, inter alia1 that Defendants failed to accurately “record, report,
and/or preserve records of hours Worked by Plaintiffs and the similarly situated employees. . ..”
Id. at 11 13. As a result, Plaintiffs are asking the Court to, inter alia, conditionally certify a

nationwide class to pursue this collective action. Id. at ad damnum clause 1| 2.

 

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Plaintiffs, however, are not similarly-situated, whether compared among themselves or to
the putative class members they purport to represent or are seeking to opt-in to this action.
Indeed, both Monroe and Moore have been promoted to supervisory roles since the
commencement of this action, and therefore, they are not similarly-situated to Williams or the
putative class members or representative of either. See Declaration of Cathy Lawley, attached
hereto as EX. “A.” Further, Unitek neither currently employs, nor has ever employed, Plaintiffs,
potential plaintiffs, or any technicians. Id. Moreover, the technicians FTS employs operate in
various markets, across numerous states, and install different products for different customers.
Id. Therefore, contrary to Plaintiffs’ conclusory, unsubstantiated allegations, the members of the
proposed class, are not similarly-situated, and the Court must deny Plaintiffs’ instant Motion
seeking national class certification for this reason alone.

Plaintiffs also failed to aver that they, as representatives of the proposed class, were
victims of a single unlawful decision, policy or plan. Further, Plaintiffs have presented no
evidence of a decision, policy or plan that violates the FLSA. Moreover, Defendants have
established that the only decision, policy or plan at issue concerning compensating all FTS
technicians is to pay them for all hours worked, including overtime hours.l

Additionally, the resolution of Plaintiffs’ claims will require individualized factual
determinations and defenses, thereby rendering a collective action impractical and prejudicial,
which precludes this action from proceeding as a collective action.

Plaintiffs failed to allege and adduce sufficient facts to support their claim that

Defendants “knew” of the alleged violations, that Defendants failed to accurately record

 

l Defendants have produced documentation that demonstrates Plaintiffs have been paid for overtime hours that they
have worked. Nevertheless, Plaintiffs aver in their instant Motion that, in violation of the FLSA, Defendants failed
and compensate Plaintiffs based upon the number of hours they worked including “non-productive” hours, which
allegedly resulted in a failure to pay Plaintiffs for their overtime hours. See Plaintiffs’ Motion. Plaintiffs, however,
admit that Defendants paid them what they earned in piece rates. Id. at p. 5.

 

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Plaintiffs’ alleged hours, and that Defendants’ alleged conduct was “willful.” Accordingly,
Plaintiffs have failed to meet their burden, and, as a matter of law and fact, this Court must deny
their Motion for Conditional Class Certification.

II. Procedural Background and Counterstatement of Facts

On February 14, 2008, the Named Plaintiffs initiated this action on behalf of themselves
and all others similarly-situated2 On March 13, 2008, Defendants moved to dismiss Plaintiffs’
Complaint for failure to state a claim upon which relief may be granted, or alternatively, for a
more definite statement The Court denied Defendants’ Motion on July 9, 2008, and Defendants
filed their Answer on July 23, 2008.

FTS is a Delaware limited liability company with a principal place of business in Blue
Bell, Pennsylvania, and corporate offices in Dallas, Texas. See Deposition of Elizabeth Downey,
attached hereto as Ex. “B.” FTS provides installation fulfillment service to cable providers in 29
projects located in 10 states. Id. Unitek is FTS’s parent company. Id. Unitek is a Delaware
limited liability company with corporate offices located in Blue Bell, Pennsylvania. Id.

In their Complaint, Plaintiffs failed to allege, inter alia, sufficient facts to show what
work they do; the hours that they allegedly work; when and/or how often they allegedly work
more than forty hours per week; the basis of their regular and extra compensation; and their
alleged entitlement to overtime compensation3 Moreover, Plaintiffs merely refer to Defendants’
“practices” that allegedly violate the FLSA and/or show that Defendants’ alleged conduct was

willful, without any factual support or basis for these references.

 

2 Since Named Plaintiffs commenced this action, sixteen (16) additional individuals have purported to “opt-in” as
Plaintiffs.

3 Although Plaintiffs allege that “the FLSA requires covered employers, such as Defendants, to compensate all non-
exempt employees at a rate of not less than one and one-half times the regular rate of pay for work performed in
excess of forty (40) hours per work week” (Complaint at 11 9), Plaintiffs failed to even allege that they are non-
exempt employees,

 

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On October 9, 2008, Plaintiffs filed the instant Motion seeking conditional certification
for this case to proceed as a collective action and permission to send a Court-approved notice of
this lawsuit to current and former employees of Defendants who work or worked for Defendants
as technicians who install, repair and upgrade cable services.

Monroe has been employed with FTS since July 12, 2007. He was initially employed as
a technician at the Memphis, Tennessee project, which performs installation services on behalf
of Comcast Cable, FTS’s customer for that area. On September 29, 2008, Monroe was promoted
to Project Manager of the Memphis project. In Monroe’s current capacity as Project Manager,
he is the overall supervisor for the project in Memphis, and he is a salaried employee

Williams was hired by FTS on October 30, 2007 as a technician. See, Ex. “A.” He is
currently employed as a technician with FTS at the Memphis project. Id. His duties as a
technician include installing and servicing Comcast Cable customers at their homes and
businesses. Id.

Moore was hired by FTS on July 5, 2007 as a technician. See Ex. “A.” On October l,
2008, Moore was promoted to Field Supervisor for the Memphis project.4

In addition to the named Plaintiffs, the following sixteen (16) individuals have filed
consents to opt-in to this matter: Xavier Becton, Bryant Burks, Carl Brantley, Randy Davis,
Darrick Malone, Jarius Nelson, Joshua Haydel, Joshua Bass, Derek Cyphers, Matthew
Grabarkiewicz, Jonathan Janov, William Hollings, Kennth L. Webb, Rolondo J. Alvarez, and
Michael Myers. Additionally, Terry Thomton filed an affidavit in this matter claiming to be an

opt-in Plaintiff; however, Defendants have no record of a consent being filed for Mr. Thomton.

 

4 Williams currently reports to Moore as his supervisor, who now reports to Mr. Monroe in his capacity as
Project Manager. Prior to Moore’s and Monroe’s respective promotions, Messrs. Monroe, Moore and Williams, as
technicians, reported to their supervisor, who reported to Greg Christianson, the previous Project Manager for the
Memphis project.

 

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Of these individuals, only Thomton and Becton are currently employed by FTS as
technicians See Ex. “A.” Brantley, Burks, Malone, Nelson, Davis and Haydel have been
employed by FTS as technicians, but are no longer employed as such. Id. Defendants have no
records relating to Joshua Bass, Derek Cyphers, Matthew Grabarkiewicz, Jonathan Janov,
William Hollings, Kennth L. Webb, Rolondo J. Alvarez and Michael Myers as ever being
employed by FTS. Id. Moreover, none of the sixteen individuals are, or ever were, employed
by Unitek. Id.

The calculation of compensation paid to FTS technicians is dependant upon various
factors. First, overall compensation is affected by the cable service provider that contracted with
FTS. See Ex. “B.” FTS customers include cable service providers Cox Cable, Comcast Cable,
Suddenlink, Brighthouse, Charter, and Time Warner. Id. Thus, for example, an FTS technician
working at a project that services Cox Cable will have a different rate of compensation than an
FTS technician working at a project that services Comcast Cable. Id.

FTS’ customers control what services are offered and, therefore, the jobs for which the
technicians can be paid. See Ex. “B.” Different services require different levels of skills and
training. Id. For example, some customers only provide cable television service, while others
also provide telephone service and/or intemet service. Id. The customer also controls what
equipment will be needed and, therefore, what equipment is provided. Id.

Technicians receive a payment for each job they complete. Id. All of the payments they
earn from their completed jobs are totaled for the pay period and divided by the total hours
worked for that pay period to get a production rate or effective-hourly-rate. Id. For any hours
worked as overtime, technicians receive one-and-a-half times their effective-hourly-rate, as

mandated by the FLSA. Id. However, in some states, overtime is measured on a daily basis, and

 

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not a weekly basis as under the FLSA. Id. This is another difference between the technicians.

Because Monroe and Moore are no longer employed as a technicians with FTS, but rather
serve in supervisory roles for the Memphis project, their salaries are no longer based upon what
jobs they complete

Prior to being employed by FTS, Named Plaintiffs were employed as installers with a
rival company to FTS, Broadband and its successor C-Cor. As installers for those companies,
they participated in a lawsuit that was filed in the Westem District of Tennessee in February of
2008 (“C-Cor Action”). See Brasfield v. Source Broadband Services, LLC, 2:08-cv-02097-JPM-
DKU Docket. ln the C-Cor Action, Named Plaintiffs’ are represented by the same counsel who
currently represents them.

The plaintiffs’ motion for conditional class certification in the C-Cor Action is currently
pending before the Court. Id. ln support of that motion, Named Plaintiffs filed affidavits Id.,
Document 31. Their respective affidavits in the C-Cor Action are almost identical to the
affidavits filed in the instant matter. Compare Ex. “C.”, with Ex. “B” of Plaintiffs’ Motion for
Conditional Class Certification in this matter. The affidavits contain the same conclusory, vague
allegations of local management’s instructions not to properly record hours. Id. In neither case
are there any allegations that these alleged, hearsay statements came from anyone other than
local supervisors and/or managers. Plaintiffs further failed to make any allegations regarding
national policy or practice.

Nevertheless, despite complaining about their respective methods of compensation in the
C-Cor Action, Plaintiffs accepted employment with FTS fully knowing and understanding that
its pay structure is similar to the pay structure of their previous employer, which they claim is

violative of the FLSA. Further, Monroe accepted a promotion to Project Manager for the

 

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Memphis project of FTS despite his allegations that the pay structure used by FTS is illegal.

In addition to the Named Plaintiffs, additional opt-in Plaintiffs filed almost identical
affidavits containing the same vague, conclusory language as the Named Plaintiffs. See Exhibit
“B” attached to Plaintiff" s Motion for Additional Certification. These affidavits only address
alleged violations of the Memphis project and another unidentified project ln their affidavits,
Plaintiffs failed to address any issues above the local level, or issues stemming from any project
in the other states where FTS operates, or national policy or practices.

Plaintiffs claim that they received no payment for overtime hours worked. Yet, when all
three Named Plaintiffs have worked more than 40 hours per week, they received overtime
compensation for that time. See Ex. “A.” Defendants have produced documents evidencing these
payments, which Named Plaintiffs cannot deny. Notwithstanding, Plaintiffs continue to
prosecute this matter. As a matter of fact and law, however, because Plaintiffs are not similarly-
situated, or victims of a single unlawful decision, policy or plan, this Court must deny Plaintiffs’
Motion for Conditional Class Certification.

III. ARGUMENT

A. Plaintiffs Are Not Entitled To Conditional Certification.

 

Section l6(b) of the FLSA provides the exclusive procedure for collective actions to
redress alleged violations of the FLSA’s wage and hour provisions. 29 U.S.C. § 216(b). The
FLSA provides for collective actions in appropriate cases, where proceeding collectively would
allow for the "efficient resolution in one proceeding of common issues of law and fact arising
from the same alleged discriminatory activity." Hoffman-La Roche, Inc. v. Sperling, 493 U.S.
165, 70 (1989).

Although the FLSA provides little guidance regarding class certification, and the circuits

 

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are split regarding how class certification under § 216 should proceed, the district courts of this
Circuit have developed and applied a two-tiered analysis starting with (l) a “notice stage”
determination followed by (2) a fact-based decertification review, which determines whether the
class will be decertified or proceed to trial. See Comer v. Wal-Mart Stores, Inc., 454 F.3d 544,
546 (6th Cir. 2006). Under either approach to certification, the threshold consideration is whether
Plaintiffs have demonstrated that they are “similarly-situated” to the class for which they seek
certification See Reich v. Homier Distributing Co., Inc., 362 F. Supp. 2d 1009, 1012 (N.D. Ind.
2005). See also Haynes v. Singer Co., 696 F.2d 884, 887 (llth Cir. 1983); Spellman v.
Visionquest Nat'l, Ltd., No. 96-235E, WL 1997458, at *2-3 (W.D. Pa. 1998)5; Sperling v.
Hojj”man-LaRoche, Inc., 118 F.R.D. 392, 406-07 (D.N.J. 1988), an’d in part, appeal dismissed in
part, 862 F.2d 439 (3d Cir. 1988), ajj”d, 493 U.S. 165 (1989).

To do this, Plaintiffs must first “describe the potential class within reasonable limits and
provide some factual basis from which the court can determine if similarly-situated plaintiffs
exist.” See Reich, 362 F. Supp. 2d at 1012 (citing Schwed v. General Electric Co., 159 F.R.D.
373, 375-76 (N.D. N.Y. 1995)). “Plaintiff[s] may not maintain a representative action under [the
FLSA’s collective action provision] unless all the employees are similarly-situated.” Brooks v.
Bellsouth Telecomms., Inc., 164 F.R.D. 561, 567 (N.D. Ala. 1995), aj’d, 114 F.3d 1202 (11th
Cir. 1997) (citing 29 U.S.C. § 216(b)).

In determining whether a proposed class of individuals may be "similarly situated,"
Courts in the Sixth Circuit consider numerous factors including whether the proposed class
members were collectively subject to a company-wide policy that violated the FLSA; whether
the proposed class members were employed in similar factual settings; and whether there are

defenses unique to the proposed class members. McDonald v. Madison Township Bd. of

 

5 Pursuant to Local Rule, all unpublished opi_m'om t- which De-endants cite ..re attached hereto as Exhibit “D.”

 

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Township Trs., No. 2:07-cv-0697, 2007 WL 2916397, at *2 (S.D. Ohio Oct. 5, 2007); O'Neal v.
Kilbourne Med. Labs., Inc., No. 05-50, 2007 WL 956428 at *4-*5 (E.D. Ky. Mar. 28, 2007)
(quoting Olivo v. GMAC Mortgage Corp., 374 F. Supp. 2d 545, 547-48 (E.D. Mich. 2004));
Landsberg v. Acton Enterprises, Inc., No. C2-05-500, 2006 WL 3742221 at *2 (S.D. Ohio Dec.
15, 2006).

Although Plaintiffs’ burden is relatively light at the conditional certification stage,
conditional certification is by no means automatic. Evancho v. Sanofz`-Aventis U.S., Inc., No. 07-
2266, 2007 2007 WL 4546100 at *2 (D.N.J. Dec. 19, 2007); see also Rappaport v. Embarq
Mgmt. Co., No. 6:07-cv-468-0r1-19DAB, 2007 WL 4482581 at *3-*4 (M.D. Fla. Dec. 18,
2007). Moreover, where plaintiffs seek conditional certification and judicial notice, Courts
routinely treat such requests with a higher level of scrutiny "to avoid the 'stirring up' of
litigation through unwarranted solicitation." Harrison v. McDonald's Corp., 411 F.Supp.2d
862, 868 (S.D. Ohio 2005) (quoting D'Anna v. M/A-COM, Inc., 903 F. Supp. 889, 893-94
(D. Md. 1995)); see also Haynes v. Singer Co., Inc., 696 F.2d 884, 886, n.2 (llth Cir. 1983);
Severlson v. Phillips Beverage Co., 137 F.R.D. 264, 266-67 (D. Minn. 1991). Courts must
exercise their discretion to grant conditional certification and judicial notice with great care,
because "'the judicial imprimatur is likely to be misunderstood as a representation that the suit
probably has merit.'" Haynes, 696 F.2d at 886 n.2; see also Severtson, 137 F.R.D. at 266-67.

Notice is appropriate under section 216(b) of the FLSA only if Plaintiffs demonstrate that
members of the proposed class are "similarly situated," See Hoffman-La Roche, Inc., 493 U.S. at
169-70. Plaintiffs have the burden of meeting this standard. Morisky v. Public Ser'vice Electric
& Gas Co., 111 F. Supp. 2d 493, 496 (D.N.J. 2000).

To certify conditionally a class of similarly-situated individuals, Plaintiffs must establish

 

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the existence of a common decision, policy or plan that violates the FLSA through the
submission of admissible evidence Shabazz v. Asurion Ins. Serv., No. 3:07-0653, 2008 WL
1730318 at *3 (M.D. Tenn. April 10, 2008); See also McElmurry v. U.S. Bank National Ass'n,
No. 04-642, 2004 WL 1675925, at *10 (D. Or. July 27, 2004). Courts that have considered the
issue have ruled that the similarly-situated standard requires a showing that "putative class
members were together the victims of a single decision, policy, or plan" that violates the FLSA.
Sperling, 118 F.R.D. at 406. See H&R Block, Ltd. v. Housden, 186 F.R.D. 399, 400 (E.D. Tex.
1999); Bayles v. American Med. Response, 950 F. Supp. 1053, 1066 (D. Colo. 1996), on
reconsideration, 962 F.Supp. 1346 (D.Colo. 1997); Ray v. Motel 6 Operating, Ltd. P'ship, No. 3-
95-828, 1996 WL 938231, at *4 (D. Minn. March 18, 1996); Brooks, 164 F.R.D. at 566-68;
D'Anna v. M/A-Com, Inc., 903 F. Supp. 889, 893 (D. Md. 1995); Lusardi v. Xerox Corp., 122
F.R.D. 463, 465-66 (D.N.J. 1988). Federal courts have consistently denied collective action
treatment and refused to authorize class notice where there exists no unlawful common employer
policy or plan, and resolution of claims requires individual factual determinations and defenses.
See, e.g., Ray, 1996 WL 938231, at *4; D'Anna, 903 F. Supp. at 894; Ulvin v. Northwestern
Nat'l Life, 141 F.R.D. 130, 131 (D. Minn. 1991); Lusardi v. Xerox Corp., 118 F.R.D. 351, 352
(D.N.J. 1987), vacated in part on other grounds, appeal dismissed sub. nom., Lusardi v. Lechner,
855 F.2d 1062 (3d Cir. 1988), on remand, 122 F.R.D. 463 (D.N.J. 1988).

Here, Plaintiffs have failed to meet their burden. Plaintiffs are not similarly-situated, and
not victims of a single decision, policy or plan that violates the FLSA. As Defendants’ evidence
unequivocally establishes, Plaintiffs have been and are being paid overtime for all hours in
excess of forty worked. Therefore, as a matter of fact and law, this Court must deny Plaintiffs’

Motion for Conditional Class Certification.

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B. The Court Must Deny Plaintiffs’ Motion Because Plaintiffs Have Failed To
Offer Admissible Evidence In Support Of Their Motion Demonstrating That
Thev Are Similarlv-Situated.

Plaintiffs have failed to provide sufficient admissible evidence in support of their Motion
for Conditional Class Certification. Although Plaintiffs claim that they and proposed class
members are similarly-situated based upon their vague, conclusory allegations in their Complaint
and affidavits, significant differences exist among the employees that render them not similarly-
situated for certification purposes under the FLSA. Moreover, Plaintiffs have failed to support
their allegations with appropriate affidavits, or sufficient evidence that demonstrates the
existence of a single common decision, policy or plan that violates the FLSA. See Plaintiffs’
Brief.

Federal courts have uniformly held that vague allegations, unsupported by admissible
evidence, are inadequate to support a class notice motion. See, e.g., Haynes v. Singer Co., 696
F.2d 884, 887 (11th Cir. 1983); Morz‘sky, 111 F. Supp. 2d at 498; Spellman, 1998 WL 1997458,
at *3-4; D'Anna, 903 F. Supp. at 893; Brooks, 164 F.R.D. at 566-68; Severtson, 137 F.R.D. at
267. As the Court explained in Lusardi v. Xerox Corporation, supra., if allegations in the
complaint alone were adequate to meet the statutory similarly-situated standard:

...judicial determination of the similarly situated requirement would not be necessary. All

that would be necessary would be the mere filing of the complaint, together with a

certification that such allegations were indeed made and such relief sought. Congress did

not intend for such a procedure to be followed.

118 F.R.D. at 380.
Plaintiffs argue that the Declarations that have been filed by Named Plaintiffs and the

opt-in individuals support the allegations of their Complaint. The form Declarations, however,

merely parrot the conclusory allegations contained in Plaintiffs’ Complaint.6 Rather, Plaintiffs

 

6 Courts refuse to consider declarations that lack personal knowledge or are based on speculation.

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rely upon inadmissible hearsay and references to unidentified “other technicians” and
“management personnel” in their affidavits Since Plaintiffs have, therefore, offered only
hearsay and the vague allegations in their Complaint to demonstrate that the purported
nationwide class is similarly-situated, they have not met their burden, and this Court must deny
their Motion.

Even if the Court takes as true the allegations in Plaintiffs’ affidavits that are arguably
based upon direct personal knowledge, Plaintiffs claims are limited to the Memphis project.
There are no allegations that would support any proposed class above that localized level.7
Plaintiffs are trying to bootstrap nationwide class certification based upon allegations about the
local management of the Memphis office, which is no longer in place. ln fact, Named Plaintiff
Monroe is now the Project Manager for Memphis, and Named Plaintiff Moore is the Field
Supervisor. See Ex. “A.” Therefore, Plaintiffs, and the potential class members are not
similarly situated and this Court must deny Plaintiffs Motion for Conditional Class Certification.

C. This Court Must Deny Plaintiffs’ Motion Because Plaintiffs Have Failed To
Offer Evidence Of A Single Ur_llawful Dec_i_sion, Policv Or Plan.

To obtain conditional class certification, Plaintiffs must also demonstrate evidence of a
common practice violative of the FLSA. They have failed to do so. Again, Plaintiffs seek
nationwide class certification; yet, once the Court peels away all of the vague, conclusory,
generalizations and hearsay contained in Plaintiffs’ affidavits, Plaintiffs’ claim boils down to

accusations that the local management of FTS’s Memphis project allegedly directed Plaintiffs

 

Richards v. Computer Sciences Corp., No. 3-03-CV-00630, 2004 WL 2211691, at *1-2 (D.Conn. Sept.
28, 2004); Davis v. Charoen Pokphand (USA), Inc., 303 F. Supp. 2d 1272, 1278-79 (M.D.Al. 2004);
Harrison v. McDonald 's Corp., 411 F. Supp. 2d 862, 871 (S.D.Ohio, 2005); Smith v. Sovereign Bancorp.,
Inc., No. 03-2420, 2003 WL 22701017, at *2-3 (E.D.Pa. Nov. 13, 2003); Fed. R. Evid. 602. Courts also
refuse to consider evidence that is inadmissible for other reasons, such as hearsay. Harrison, 411 F.
Supp. 2d at 865-66.

7See Section F, infra, of Defendants’ Memorandum.

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not to record their hours

To the contrary, Elizabeth Downey, Defendants’ Chief Administrative Officer, testified
to FTS’s Company wide policy that technicians are to record all hours worked. See Ex. “B.”
This policy also is articulated in Defendants’ employee handbook and posted on the walls at the
Memphis project, Id. Moreover, Plaintiffs have offered no evidence regarding the practices of
the numerous other FTS projects operating in other states other than Ms. Downey’s testimony
that indicates FTS’s policy to pay employees for all time worked, including overtime Further,
FTS’s compensation plan described by Ms. Downey is FLSA compliant.8

Plaintiffs have not, and cannot, offer evidence of a common FTS practice that is violative
of the FLSA either locally in Memphis or nationwide Plaintiffs raise no issue let alone adduce
record evidence of any unlawfi,il decision, policy or plan beyond the vague conclusory
allegations at the Memphis proj ect. Therefore, this Court must deny Plaintiffs’ instant Motion.

D. This Court Must Del_lv Plaintiffs’ Motion Because Individual Issues Exist.

Where, as here, a case is not appropriate for collective action status because there is no
single common decision, policy or plan that gives rise to the alleged violations and the issues are
fact specific to each individual, Courts have denied collective action status even at this initial
stage See Lusardi v. Lechner, 855 F.2d 1062, 1074-75 (3d Cir. 1988); see also Morisky, 111 F.
Supp. 2d at 498-99; Bayles, 950 F. Supp. at 1066; Brooks, 164 F.R.D. at 568; Lusardi, 118
F.R.D. at 359; Ray, 1996 WL 938231, at *4. The factors considered by the Court in determining
whether individual issues make class treatment inappropriate include: (1) the disparate factual
and employment settings of the individual plaintiffs; (2) the various defenses available to the

defendant that appear to be individual to each plaintiff; and (3) fairness and procedural

 

8 In their brief, Plaintiffs admit that they want the Court to ignore the facts and merits of the case and simply grant
conditional certification See Plaintiffs Brief at Section D(l).

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considerations Lusardi, 118 F.R.D. at 359; Bayles, 950 F. Supp. at 1066.

Plaintiffs bear the burden to establish that common questions predominate, and must
show more than commonality of the alleged violation. Brooks, 164 F.R.D. at 568; Pfaahler v.
Consultants for Architects, Inc., No. 99C6700, 2000 WL 198888, *2 (N.D.Ill. Feb. 8, 2000).
Where it is clear that the Court must engage in fact-intensive determinations even conditional
certification is inappropriate Pfaahler, at *2; see also Reich, 362 F. Supp. 2d at 1013-14; Holt v.
Rite Aid Corp., 333 F. Supp. 2d 1265, 1274-75 (M.D. Ala. 2004); Mike v. Safeco Ins. Co., 274 F.
Supp. 2d 216, 220-21 (D. Conn. 2003); Shejield v. Orius Corp., 211 F.R.D. 411, 413 (D.Or.
2002); Morisky, 111 F. Supp. 2d at 499. See also Dudley v. Texas Waste Systems, Inc., No. 05-
0078, 2005 WL 1140605 (W.D. Tex. May 16, 2005).

In this case, there are numerous differences in the factual situations of Plaintiffs, as their
own allegations make clear. To prove their damages, each Plaintiff will have to demonstrate the
hours he or she worked and was not compensated for during each relevant time period. These
proofs will be affected by, inter alia, the state in which the Plaintiff worked, what skill set he or
she possessed, the number of jobs he or she performed during the relevant time period, the type
of jobs he worked, and for which FTS customer (i.e. which cable company) the jobs were
perforrned.

A review of the proffered affidavits supports Defendants’ arguments in this regard. All
of the affidavits contain the vague assertion that the employee “routinely worked over forty
hours per week but was not compensated for my overtime hours.” As such, each Plaintiff would
have to prove how many hours he worked per week, and what his compensation rate was for that
week. These totals would be different for each Plaintiff, and require a multitude of mini-trials

As a result of these significant differences, the Court would necessarily become mired in a

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tedious individualized inquiry as to each of the putative class members’ individual work
schedules, hours, and surrounding circumstances over a two or three year period.

Far from being incidental, these differences implicate the primary issues in this case, and
these factual differences would be multiplied exponentially if hundreds of other individuals
joined the case as plaintiffs Thus, these differences in Plaintiffs’ employment situations raise a
host of individual issues that would make collective action treatment inappropriate and
impractical.

The reason for such results is clear: where there is no single, uniform, common decision,
policy or plan, but rather a variety of individualized issues, class treatment is unmanageable
lndeed, Courts have noted that where individualized determinations are necessary, a case will
likely disintegrate into a series of mini-trials on each putative class member's individual claim.
See, e.g., Morisky, 111 F. Supp. at 499; Ray, 1996 WL 938231 at *5; Lusardi, 118 F.R.D. at
370-71.

ln an attempt to show that the purported class meets the statutory standard, Plaintiffs
proffer unsubstantiated claims that all technicians at FTS perform nearly identical work under
nearly identical conditions See Plaintiffs’ Brief at pp. 11-13. Such unsubstantiated allegations,
however, are insufficient to meet the statutory similarly-situated standard, and, in any event, the
allegations are untrue. The Named Plaintiffs have received payment for overtime hours worked.
See, Ex. “A.” Their claims to the contrary are disingenuous

Not only do Plaintiffs’ specific claims present numerous individualized factual issues and
defenses, but Defendants also intend to assert a variety of more general defenses that would
complicate the already significant trial management problems inherent in Plaintiffs’ claims See

Brooks, 164 F.R.D. at 569. Defendants may assert a statute of limitations defense as to some

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claims As discussed below, the limitations period under the FLSA is generally two years 29
U.S.C. § 255(a); see infra Section “E.” FTS was formed in July, 2006. The running of the
limitations period stops only when a particular employee affirmatively opts-in to a collective
action. See 29 U.S.C. § 257. Thus, the relevant limitations period will vary from individual to
individual This issue is further complicated if one or more of the alleged violations is found to
be willful, triggering a longer limitations period for that particular violation. See infra Section
“E_,,

As the Supreme Court noted in Hojj”man-LaRoche Inc. v. Sperling, supra, in evaluating
collective actions under the FLSA, Courts must determine that certification and Court-supervised
notice will effect an efficient and fair adjudication See Sperling, 493 U.S. at 170. Here,
certification would result in litigation that would be both inefficient and unfair to the parties and
the Court. Accordingly, this Court must deny Plaintiffs’ Motion.

E. Plaintiffs Are Not Entitled To A Three-Year Limitations Period.

Plaintiffs’ attempt to extend Court-approved notice to all technicians within the past three
years, and thereby substantially increase the size of the putative class, must be rejected. Under
the FLSA, a two-year statute of limitations applies A three-year limitations period arises only
where the plaintiff proves the violation was "willful." 29 U.S.C. § 255(a).

An employer acts "willfully" for purposes of the three-year statute of limitations if the
"employer either knew or showed reckless disregard for the matter of whether its conduct was
prohibited by the statute." McLaughlin v. Richland Shoe Co., 486 U.S. 128, 133 (1988). "[T]he
showing needed for a finding of willful is demanding in that even if an employer acted
unreasonably, if the employer's action was not reckless in determining its legal obligations under

the FLSA, such action is not ‘willful.”’ Duncan v. Brockway Standard, Inc., No. 1:90-CV-2867,

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1992 WL 510256, *6 (N.D.Ga. Sept. 21, 1992).

In this case, there is simply no evidence to support the claim that Defendants acted with
"reckless disregard" toward their obligations under the FLSA, thereby justifying a three-year
limitations period. Plaintiffs have not offered, and cannot offer any evidence that Defendants
have "willfully" violated the FLSA, thereby justifying the broad, three-year notice they seek.
Therefore, the Court must deny Plaintiffs’ request for a three-year limitations period.

F. A Class, If Any, Should Be Limited To Technicians In Memphis

While Defendants contend that Plaintiffs have failed to show they are entitled to
conditional class certification, in the event the Court finds a colorable basis for conditional
certification of a class, the class must be limited to current and former technicians at FTS’
Memphis project, All of the Named Plaintiffs worked there, and all the supporting documentary
"evidence" presented (other than a handful of self-serving and unsupported declarations from a
few employees at some other unidentified offices) comes from the Memphis office

Other courts have held that when the evidence provides some factual support that only a
portion of the plaintiffs are "similarly situated," a collective action class which is comprised of
that smaller group is appropriate for certification, See, e.g., Harper v. Lovett’s Bujj’et, Inc., 185
F.R.D. 358, 363-64 (M.D. Ala. 1999); Tucker v. Labor Leasing, 872 F. Supp. 941, 948 (M.D.
Fla. 1994).

Here, Plaintiffs have presented no evidence whatsoever that a “nationwide policy or
practice" exists that denies technicians any pay to which they are entitled. FTS technicians who
worked in other projects must not be a part of any purported class Accordingly, this Court must

limit any conditionally certified class to Memphis

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G. Assuming Arguendo That Conditional Certification Is Granted, Plaintiffs
Failed To Address Significant Issues Concerning The Court-Imposed Notice.

Although Defendants submit that this Court must deny Plaintiffs’ Motion, if the Court is
inclined to allow conditional certification, it must afford Defendants the opportunity to respond
and be heard on significant issues regarding the proposed notice to putative class members that
Plaintiffs failed to address ln their proposed Order, Plaintiffs first suggest that the Court direct
Defendants to produce within ten days a list containing the full name and address of all potential
class members defined as: “all technicians who worked for Defendants FTS USA, LLC, and
Unitek USA, LLC in the past three years.” Second, Plaintiffs attach a proposed notice to their
Motion.

Regarding the notification form and process, Plaintiffs ignore the record evidence that
Unitek does not employ any technicians and that Unitek and FTS are separate and distinct legal
entities Nevertheless, Plaintiffs insist on moving forward against Unitek and including it in their
proposed notice As such, Plaintiffs’ proposed notice is overly broad.

Plaintiffs also failed to address, inter alia, who bears the costs of and related to the notice
to the putative class members; the appropriate and necessary restrictions on communicating with
the putative class members after the notices are sent; the timeliness of the notice; the inclusion of
Defendants’ counsel contact information; the fact the putative class members may be required to
participate in the discovery process; and the fact that putative class members may be responsible
for a portion of Defendants’ costs if Defendants are the prevailing parties

In their proposed Notice of Lawsuit, Plaintiff erroneously state that “The above-named
Plaintiffs are employed by Defendants as technicians.” Plaintiffs further state that putative class

members may participate in the lawsuit if they “Were employed by Defendants as a technician at

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’

any location across the country....’ Again, Unitek does not employ technicians, so, it is
improperly included.

Plaintiffs also state putative class members may participate if they were “paid by piece-
rate and not paid overtime compensation for all hours worked over forty.....” However, the
FLSA provides for piece-rate and job-rate compensation, and, therefore, implying that such a
compensation plan is improper is inappropriate to include in the proposed Notice. Additionally,
Plaintiffs’ proposed Consent form unnecessarily states that putative class members’ “consent to
join any subsequent action to assert claims against Unitek and FTS for overtime pay” and
improperly reiterates Plaintiff’s proposed requirements to opt-in. Therefore, Defendants hereby
reserve the right to respond and be heard at the appropriate time on those and other significant

issues regarding the notification and process that Plaintiffs failed to even address in their

Motion.9

 

9 For example, Defendant would seek limitations on the contact that Plaintiffs or anyone on their behalf may have
with putative class members after the notices are sent.

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IV. CONCLUSION

For all of the foregoing reasons, Defendants respectfully request that this Court deny

Plaintiffs’ Motion for Conditional Class Certification.

DATED: November 11, 2008

Respectfully submitted,

/s/ Colin D. Doughertv

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CERTIFICATE OF SERVICE

I, Colin D. Dougherty, hereby certify that, on this date, l caused the foregoing to be filed
electronically with the Court, Where it is available for viewing and downloading from the Court’s
ECF system, and that such electronic filing automatically generates a Notice of Electronic Filing
constituting service of the filed document, upon the following:

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/s/ Colin D. Dougherty
Colin D. Dougherty

DATED: November 11, 2008

 

